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     Attorney for Defendant
 6   LITTANAVONE KEOPADUBSY

 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                       )       No. 2:13-cr-078 MCE
11                                                   )
                                                     )       STIPULATION AND
            Plaintiff,                               )       ORDER CONTINUING STATUS
12
                                                     )       CONFERENCE
13   v.                                              )
                                                     )
14   LITTANAVONE KEOPADUBSY, et al                   )       Date: March 20, 2014
                                                     )       Time: 9:00 a.m.
15                                                   )       Judge: Honorable Morrison C. England, Jr.
                                                     )
16
            Defendants.                              )
                                                     )
17                                                   )

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19          IT IS HEREBY stipulated by and between the parties hereto through their respective

20   counsel, undersigned hereto, that the status conference scheduled for February 27, 2014 be re-

21   calendared for March 20, 2014 at 9:00 a.m.

22          Defense counsel continues to investigate the case and is engaged in negotiations to

23   resolve the matter with the United States.

24          Accordingly, all counsel and defendant agree that time under the Speedy Trial Act from

25   the date this stipulation is lodged, through March 20, 2014 should be excluded in computing the

26   time within which trial must commence under the Speedy Trial Act, pursuant to Title 18 U.S.C.

27   Section 3161(h)(7)(B) (iv) and Local Code T4 in that the granting of the continuance serves the

28   ends of justice and outweighs the best interests of the public and the defendant in a speedy trial.



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 1
     Dated: February 25, 2014                                   /s/ MARK J. REICHEL
 2                                                              MARK J. REICHEL
                                                                Attorney for Defendant
 3

 4
     Dated: February 25, 2014                                   BENJAMIN WAGNER
 5                                                              United States Attorney

 6                                                      by:     /s/ MARK J. REICHEL for
 7
                                                                PAUL HEMESETH
                                                                Assistant U.S. Attorney
 8                                                              Attorney for Plaintiff
 9                                              ORDER

10          For the reasons set forth above, the Court finds that there is GOOD CAUSE for the

11   continuance and the exclusion of time, and that the ends of justice served by this continuance

12   outweigh the best interests of the public and the defendant in a speedy trial. Time is excluded

13   pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4.

14          IT IS SO ORDERED.

15   Dated: March 7, 2014
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